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   home orders provided exemptions for medical care. There could be some supply response if
   providers limited the types of visits or reduced hours. Within nursing homes, staff or residents
   themselves may have been less likely to travel off-site to visit a medical care provider.

   Given the potential downsides of efforts to control the spread of the virus, we next examine
   whether high-quality nursing homes also managed the non-COVID risks created by isolation. In
   particular, we estimate Eq. (1) above, but with non-COVID deaths as our dependent variable. Like
   our analysis of COVID-19 deaths, we estimate effects across seven different time periods. The sec‐
   ond panel of Table 3 (rows 8 through 14) contains parameter estimates. As of May 24th, 2020
   (row 8), nursing home quality had no statistical effect on non-COVID deaths in nursing homes;
   however, by September 13th, 2020 (row 9), we document a large, positive, statistically significant
   impact of nursing home quality on non-COVID deaths. Five-star homes have about 11 percent
   more non-COVID deaths than one-star homes and deaths are increasing monotonically with qual‐
   ity. Rows 10 and 11 shows that the relationship between quality and cumulative non-COVID deaths
   has strengthened with time, as do rows 12 through 14, which look at non-COVID deaths occurring
   in early, middle, and more recent time intervals. That the relationship has strengthened with time
   is consistent with the narrative above. The longer patients are exposed to isolation from others
   and/or regular medical care is not received, the greater risk they face. Moreover, the patterns in
   Fig. 2 show that despite growing vaccination rates through early 2021, traffic in and out of nursing
   homes remained well below pre-pandemic levels. We repeat all robustness tests performed for
   COVID-19 deaths (reported in Table 4) for non-COVID deaths in Appendix Table A6, where non-
   COVID deaths are measured on September 13th, 2020. Results are robust to all tested
   specifications.

   There is some concern that our findings can be explained by higher-quality nursing homes inten‐
   tionally misreporting COVID-19 deaths as non-COVID deaths, potentially in an effort to protect
   their reputation. This concern is somewhat mitigated by Fig. 1. Were COVID-19 deaths consistently
   reported as non-COVID, we would expect stark rises in non-COVID deaths during the summer and
   winter waves of 2020; we see neither. Moreover, misreporting is most likely early in the pandemic
   and results using cumulative deaths as of September are nearly identical to those using deaths be‐
   tween May and September. Finally, the result is present in nursing homes even after COVID-19 vac‐
   cines were introduced and disease mortality fell to the lowest level in months.

   Yet another alternative explanation of our findings is that COVID-19 “harvests” the most fragile
   residents from low-quality homes, meaning they are not around to die of non-COVID causes.27 We
   address this concern, and further address the misreporting concern, by re-estimating Eq. (1) with
   total nursing home deaths as our dependent variable. We report parameter estimates in the third
   panel of Table 3 (rows 15 through 21). Our results show that there is not any period of time over
   which high-quality homes experienced fewer total deaths than low-quality ones, even very early in
   the pandemic (row 15) when statistically, high-quality homes were experiencing far fewer COVID-
   19 deaths (row 1).28 By December 6th, 2020, high-quality homes had experienced statistically
   more total deaths than low-quality homes (row 17) and the gap between the two has grown over
   time (row 18). The last three rows of Table 3 show the urgency of the problem. From summer
   2020 (row 19), to fall 2020 (row 20), and finally winter/spring 2021 (row 21), the positive rela‐
   tionship between nursing home quality and total deaths has increased in magnitude. In the latter
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   of these three periods (row 21), five-star homes experienced 17.5 percent more total deaths than
   one-star homes. On a base of 11 deaths per home, this amounts to roughly two additional deaths
   in five-star homes over just a four-and-a-half-month period. By our estimates, all of these excess
   deaths are due to non-COVID causes.

   A related concern to the one above is that due to patient churn in and out of nursing homes over
   time, the composition, and therefore underlying health, of residents may change. For example, it is
   plausible that fear of COVID-19 led the wealthiest, healthiest potential residents to avoid nursing
   homes. For this behavior to drive our findings – specifically, our finding that the relationship be‐
   tween quality and total deaths increases over time – it would need to be the case that the average
   resident at higher-quality homes became sicker, without a similar change occurring at lower-qual‐
   ity homes. Unfortunately, as we do not observe changes in average patient acuity within the home
   over time, we cannot test this theory. Alternatively, selection could lead higher-quality homes to
   have higher occupancy rates than lower-quality homes over time. Indeed, over the life of the sur‐
   veillance data, occupancy rates at high 5-star homes go from three percentage points higher than
   1-star homes to just under five percentage points higher. That said, when we control for the
   home's occupancy rate in our total death models, our results are very similar.29

   In a final attempt validate the important role that visitation restrictions play in our findings, we
   look for empirical evidence that high-quality nursing homes allowed fewer visitors during the
   COVID-19 pandemic. To this end, we matched the individual nursing homes in our main data file to
   the foot traffic data in the SafeGraph point of interest series. Using zip-code and longitude/latitude
   coordinates in both data files, we were able to identify 12,300 homes with both foot traffic and
   nursing home quality data. Among these homes, we calculated average daily foot traffic (i) in
   January 2020 (i.e., pre-pandemic) and (ii) between January 1st, 2021 and April 25th, 2021. We
   then calculated the percent change from (i) to (ii). On average, foot traffic in nursing homes de‐
   clined by 34 percent (s.d. 18). We then regress the percent decline in foot traffic on home quality,
   using a variety of specifications (e.g., including additional controls, state fixed effects, and county
   fixed effects, and with sample limitations for nursing home size and measurement error).30

   We find that while quality is typically negatively associated with the change in foot traffic, the ef‐
   fects are never statistically different from zero; thus, we do not report results here, but they are
   available upon request. In addition to measurement error, the fact that SafeGraph does not distin‐
   guish between the cell phones of visitors, staff, and residents makes the foot traffic data an imper‐
   fect proxy for “number of visitors.” This feature of the data poses a challenge to our validation ex‐
   ercise if, for example, high-quality homes experience a decline in visitors, while low-quality homes
   experience staff shortages (a reality that we document above.) Another concern is that the resi‐
   dents of high-quality homes are both younger and wealthier, meaning they and their visitors are
   more likely to possess cell phones. As SafeGraph expanded their network over the course of the
   pandemic, higher cell phone densities in higher-quality nursing homes could boost foot traffic
   counts, even as the number of visitors declined.

   IV. Conclusion


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   The COVID-19 pandemic has ravaged residents of nursing homes with roughly one fifth of COVID-
   19 deaths coming from this group. Not surprisingly, the impact of the pandemic varied in some
   systematic ways across homes. Initially, higher-quality homes were much more successful at limit‐
   ing the impact of the pandemic, primarily by preventing the spread of the disease once it entered
   the nursing home, but these differences declined over time. Between January of 2020 and April of
   2021, cumulative COVID-19 mortality was lower in higher-quality nursing homes, all else equal;
   however, starting sometime in the Fall of 2020, the marginal death counts from COVID-19 were no
   different across nursing home of different quality levels. This finding suggests that higher-quality
   homes adapted quickly at the start of the pandemic, while lower-quality homes took more time to
   understand how to effectively contain the virus among residents.

   Our results raise a new concern about higher-quality facilities, in that they have higher non-COVID
   mortality than lower-quality places. This finding is not due to a misclassification of deaths, as the
   relationship persists even after COVID-19 vaccines were introduced and COVID-19 mortality fell to
   a fraction of the levels seen at the height of the pandemic. It is also not due to harvesting – the no‐
   tion that lower COVID-19 deaths in higher-quality homes might mean more residents are available
   to die from other causes – as higher-quality homes have higher aggregate mortality. A more trou‐
   bling aspect of our findings is that as the home quality/COVID-19 mortality gradient was elimi‐
   nated over time, the quality/non-COVID-19 mortality gradient has steadily increased as the pan‐
   demic has aged.

   Our paper is less successful at identifying the reason for the quality/non-COVID mortality gradi‐
   ent. Our results indicate that higher-quality homes were better at following CMS guidelines de‐
   signed to control the spread of the virus, such as having PPE equipment on hand, not having staff
   shortages, more frequent testing of both residents and staff, and having higher staff and resident
   vaccination rates. It is logical to assume then that higher-quality homes were also better at gener‐
   ating more distance between residents and the outside world by preventing building entry and
   isolating residents from one another. Anecdotal reports from doctors, nurses, and resident family
   members (Aronson, 2020; Paulin, 2020; Graham, 2020), as well survey data from residents them‐
   selves (Montgomery et al., 2020), document frightening levels of depression, loneliness, and hope‐
   lessness. Consistent with these reports, CMS updated their visitation guidelines in mid-September
   of 2020 to combat the mental and physical distress of isolation.31 Analysis of the Minimum Data
   Set by Levere et al. (2021) during the early stages of the pandemic suggests that nursing home
   residents declined in health along dimensions consistent with increased isolation, such as unex‐
   plained weight loss, declines in cognitive function, and increases in depressive symptoms. This is,
   however, not the only pathway by which the pandemic could have altered non-COVID mortality.
   Isolation policies may coincide with, or even cause, reductions in routine medical care, residents’
   physical activity, or food consumption. The rise in bed sores and drop in weight found in
   Levere et al. (2021) suggest these other mechanisms may play a role.

   The good news from Fig. 1 is that once vaccines became available, mortality declined considerably.
   Weekly deaths of nursing home residents with COVID-19 peak at 6082 the week ending December
   20th, 2020. By the week ending May 21st, 2021, this number was 179, a 97 percent drop. Fig. 1
   provides some hope that things might be returning to normal within these group quarters.
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https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8776351/      103                                                       25/43
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   Despite this positive trend, not all has returned to normal. The decline in visits to nursing homes
   in the early stages of the pandemic as measured by cell phone movements was dramatic. By April
   1st of 2020, visits to nursing homes were down 51 percent compared to January of 2020. As vac‐
   cines became available and COVID-19 deaths in nursing homes fell considerably in early 2021, vis‐
   its to nursing homes increased but never returned to anywhere near pre-pandemic levels. By the
   end of June 2021, visits were still down by 35 percent compared to the January 2020 levels. These
   numbers are imperfect measures of visits because they include counts of family and friends visit‐
   ing residents plus, entrances by workers, traveling nurses and aids such as physical therapists, etc.
   It is also not clear whether the persistent decline in visits to nursing homes is supply driven (con‐
   tinue restrictions on the part of nursing homes) or demand driven (friends and family do not
   want to visit the nursing homes). Despite these caveats, the fact that foot traffic in nursing homes
   never returns to anywhere near normal levels could explain another feature of our findings – that
   the impact of higher-quality homes on non-COVID mortality continues to grow with time.

   The COVID-19 pandemic presented a unique challenge for nursing homes. Early CMS directives
   and various state regulations for nursing homes prioritized reducing resident and staff exposure
   to COVID-19. There was little discussion about the downside risks associated with reducing visi‐
   tors, communal activities, and resident travel out of the home. Our results suggest that more bal‐
   anced policies and guidelines that emphasize maximizing the health of residents, rather than just
   minimizing risk to one disease, may have improved outcomes. For a period of time, CMS and the
   news media at large measured nursing home COVID-19 performance using cases and deaths only,
   meaning the logical response on the part of the nursing home was to minimize these counts re‐
   gardless of the cost. In retrospect, the tone of the discussion and the measurement of outcomes
   may have led to some deadly consequences. As economists continually stresses, there are benefits
   and costs to all regulations.

   Author statement

   This is the author statement for the paper referenced above. The two authors of this paper were
   engaged in all aspects of the production of this manuscript including: Conceptualization; method‐
   ology; software; validation; formal analysis; investigation; resources; data curation; writing;, visual‐
   ization; supervision; project administration; and funding acquisition.

   Acknowledgement

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   Davidson for excellent research assistance. We also received helpful comments from participants
   of the 2020 NBER Fall Health Economics Program Meeting, as well as the NBER Conference on
   COVID-19 and Health Outcomes. A version of this paper was first circulated as NBER working pa‐
   per 28012 in October of 2020.

   Footnotes
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   1https://coronavirus.1point3acres.com/.



   2
       We outline the data used in these calculations in the next section.

   3
       The Kaiser Family Foundation notes that early in the pandemic, 27 states banned visitors and 22 states recommended
   that nursing homes ban visitors (Tolbert et al., 2020). Two states provided no guidance.

   4
       https://www.cdc.gov/nchs/nvss/vsrr/covid19/excess_deaths.htm#data-tables

   5
       https://data.cdc.gov/NCHS/Conditions-Contributing-to-COVID-19-Deaths-by-Stat/hk9y-quqm.

   6
       While only 12.5 percent of Alzheimer patients live in nursing homes (Lepore et al., 2017), just under half of nursing
   home residents have Alzheimer's (CDC, 2020a). In 2018, 50.6 percent of all deaths listing Alzheimer's as an underlying
   cause occurred in nursing homes. (Authors’ calculations from CDC Wonder Multiple Cause of Death data.)

   7
       There is a public health literature that evaluates the extent to which CMS star ratings measure true quality.
   Konetzka et al. (2021) review this literature and point to two types of evidence that the overall star rating captures rele-
   vant information on quality. The first type of evidence is that the overall star rating is highly predictive of characteristics
   typically associated with quality, such as the share of Medicaid pay residents and resident education (Konetzka &
   Gray, 2017; Perraillon et al., 2019), something we document in this paper as well. The second type of evidence shows
   that homes with higher overall star ratings have fewer hospital admissions and readmissions and lower mortality
   (Cornell et al., 2019; Unroe et al., 2012). There is a more nuanced debate regarding the reliability of the component
   (i.e., inspection, quality metrics, and staff) star ratings. We review this literature in Appendix Section C.

   8
       We calculate these numbers through then end of 2020 as it is easiest to obtain a denominator for January of 2020.

   9
       The CMS data indicates there are 1.1 million nursing home residents as of the first CMS weekly report and there were
   about 72,000 deaths from all causes in nursing homes up to that point. Adding these two numbers together gives us
   roughly 1.2 million nursing home residents at the beginning of the year. This number is an approximation as residents
   could have moved into a nursing home and died. The CMS data report 107,342 deaths through the week ending
   January 3rd, 2021. Applying the correction factor from the appendix to take into consideration the underreporting of
   deaths in the first week, this generates roughly 111,000 COVID-19 deaths in nursing homes in 2020, for a death rate of
   9,252.

   10Census estimates a US population of 329 million in January of 2020, including 54 million people 65 and older

   (US Census Bureau, 2020). There were 392,356 COVID-19 deaths by the week ending January 2nd, 2021, meaning
   281,338 were outside of nursing homes. One estimate suggests 15.5 percent of the nursing home population is under
   65 (Howley, 2019), leaving 1 million people aged 65 and over living in nursing homes and 55 million people aged 65 or
   over living outside of nursing homes. The CDC reports that 96 percent of deaths in nursing homes were to people 65
   and older. Applying this ratio to the CMS numbers suggests that roughly 106,577 COVID-19 deaths in nursing homes
   were to people aged 65 and over. Subtracting this from the 317,020 COVID-19 deaths to people aged 65 and over in
   the US, there were 210,443 COVID-19 deaths for people aged 65 and over outside of nursing homes, for a death rate




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   of 390. We acknowledge that this figure is likely overstated as the CDC reports place of death (e.g., hospital, at home,
   nursing home), so the counts for people outside nursing homes in places like hospitals, emergency rooms and hospice
   facilities would include some nursing home residents as well.

   11More information can be found at http://ltcfocus.org/.



   12
        More details, as well as the methods for calculating the overall rating can be found at:
   https://www.cms.gov/Medicare/Provider-Enrollment-and-
   Certification/CertificationandComplianc/downloads/brieffivestartug.pdf

   13
        Homes are to report all deaths regardless of location, e.g., in the home or in a hospital (CMS, 2020c). The module in-
   structions (CDC, 2020b) define a COVID-19 death as “a resident with suspected or a positive COVID-19 test result who
   died in the facility or another location as a result of COVID-19 related complications.” The instructions state the following
   regarding the reporting of marginal COVID-19 deaths: (i) suspected deaths are those that are being managed for
   COVID-19 symptoms, but do not have a positive test, and these symptoms play a role in their death; (ii) someone with-
   out a positive test or symptoms who dies from complications associated with COVID-19 and later has COVID-19 diag-
   nosed in autopsy, should be coded (retrospectively) as a COVID-19 death; (iii) someone previously diagnosed or sus-
   pected to be COVID-19 positive, who dies after recovery should not be counted as a COVID-19 death.

   14
        Other time periods look very similar and are available upon request.

   15
        Nursing home characteristics are missing for some homes; thus, we include missing variable indicators as well.

   16
        County-level COVID-19 cases are included as a measure of the intensity of the virus locally. As death occurs on aver-
   age 18.5 days after symptom onset (Zhou et al. 2020) and the incubation period is 4-5 days on average (CDC, 2020c)
   we measure cases 23 days prior to death. All models are robust to controlling for the county's non-nursing home death
   rate rather than the case rate.

   17
        Results are very similar if the inspection rating is used in place of the overall rating. Results for all quality measures
   are available upon request.

   18
        Across the seven specifications, we find that homes with more beds, larger black populations, and located in larger
   cities with higher case rates nearly always have more COVID-19 deaths, while homes with younger populations have
   fewer deaths. We also find that for-profit homes have significantly more deaths. These results are available upon
   request.

   19
        We obtained 2016 presidential vote share data from https://electionlab.mit.edu/data.

   20We explored an additional, related mechanism – that higher-quality nursing homes provided better care conditional on

   infections, leading to a lower death rate. To do so, we returned to Equation 1, but controlled (separately) for whether any
   staff or residents had tested positive for COVID-19, as well as the total number of staff and resident cases. If high-qual-
   ity facilities only prevent death by reducing cases, then we would expect quality to have no impact on death counts in
   this model. Estimates can be found in Table 4, row 11. Conditional on cases, higher-quality facilities still have far fewer
   deaths. This could mean that higher-quality homes reduce mortality by doing a better job of managing COVID-19 cases,
   that is, they monitor patients closer, are more aggressive at seeking treatment, etc.

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   21
        As of September 13th, 2020, one-star homes reported significantly fewer staff cases, conditional on having a single
   staff case. By April 25th, 2021, the staff cases were increasing with the star rating throughout the rating distribution. This
   somewhat unintuitive result is likely explained by higher-quality homes simply testing their staff more frequently and,
   thus, measuring more cases. We will provide evidence of this below.

   22
        We note the possibility that facilities could have shortages of PPE because the staff is more aggressive at using this
   equipment. Moreover, as COVID-19 is primary spread through the air, gown, glove, and sanitizer shortages likely have
   little impact on disease transmission. At the same time, shortages of basic PPE may signal something about the quality
   of the home's management and the home's general adherence to COVID-19 protocols; hence, we present the results
   for these types of PPE as well.

   23
        An interesting question in light of these findings is, “How much of the inverse relationship between COVID-19 deaths
   and nursing home quality is explained by higher-quality nursing homes avoiding staff and PPE shortages?” To answer
   this, we return to our baseline model, but add controls for shortages. In particular, among the nine staff and PPE mea-
   sures, we calculate for each nursing home the number of shortages experienced between May 24th and September 13th
   of 2020 (e.g., if a home experienced a nursing shortage and an n95 mask shortage over this period, we would measure
   their total as 2). The results from this are in row 12 of Table 4. The results suggest that staff and PPE shortages can ex-
   plain some of the quality gradient we report in Table 3. For example, in the basic model we estimate that five-star
   homes have 15.4 percent lower COVID-19 mortality than one-star homes. This number moves to 13.6 once we control
   for these shortages, meaning they can explain about 10 percent of the quality gradient.

   24
        Testing data is only reported in the CMS data from August 16th through November 22nd of 2020.

   25
        As nursing homes can only report such testing if a new positive case arises, we condition our analysis on facilities
   with a new positive case because higher-quality facilities have already been shown to have fewer positive cases.

   26
        The data are from the Weekly Places Patterns data series, which SafeGraph makes available free of charge to re-
   searchers. The files contain hourly counts of foot traffic to about 4 million points of interest in the US. Traffic is monitored
   using cell phone location services. Locations are organized by NAICS code; nursing homes are code 623110. The verti-
   cal axis contains aggregate counts, adjusted for devices per person in the state, as is recommended by SafeGraph.

   27
        To fix ideas, consider two nursing homes that differ only in overall quality. Each has ten fragile residents that, indepen-
   dent of COVID-19, would have died in 2020. Now, assume that five of the residents in the low-quality home die in early
   2020 of COVID-19. In the data, we then observe ten non-COVID deaths in the high-quality home and just five such
   deaths in the low-quality home.

   28
        In May and September of 2020 (rows 15 and 16), the relationship between nursing home quality and total deaths is
   positive, despite the fact that the impact of quality on COVID-19 deaths (rows 1 and 2) is larger in percentage terms
   than the impact of quality on non-COVID deaths (rows 8 and 9) in the same times periods. This peculiarity is explained
   by there simply being more non-COVID deaths than COVID-19 deaths. For example, consider September 13th, 2020.
   Row 2 suggests that five-star homes had (0.154*3.672) 0.565 fewer COVID-19 deaths than one-star homes. Row 9
   suggests that five-star homes had (0.114*10.151) 1.157 more non-COVID deaths than one-star homes.




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   29
        For this analysis, we use the “occupied beds” variable the CMS data to calculate the average weekly occupancy rate
   in each nursing home between May 24th, 2020 and April 25th, 2021. We then control for the occupancy rate in our April
   25th, 2021 total death regression (row 18 of Table 3). While the occupancy rate is positively associated with total deaths,
   the estimated quality effects are statistically indistinguishable from our main findings. (Results available upon request.)
   Note that we do not include the occupancy rate in all models because it is an imperfect (i.e., likely endogenous) control,
   as deaths in period t influence the occupancy rate in period t + 1.

   30SafeGraph does not track the universe of cell phones; thus, the point of interest data can be sparse when facilities are

   small or located in rural environment. Among the 12,300 matched homes, over a thousand have zero visitors on more
   than a third of the days over our time-horizon. Thus, some of our specifications remove these 1000 homes with a high
   frequency of zero visitors, while others look only at homes with 100+ total beds. Both specifications remove measure-
   ment error, thereby improving the precision of our estimates.

   31
        In a memo released September 17th outlining revised procedures for nursing homes during the pandemic, CMS notes
   that “…we recognize that physical separation from family and other loved ones has taken a physical and emotional toll
   on residents. Residents may feel socially isolated, leading to increased risk for depression, anxiety, and other expres-
   sions of distress. Residents living with cognitive impairment or other disabilities may find visitor restrictions and other
   ongoing changes related to COVID-19 confusing or upsetting” (CMS, 2020b). In this memo, CMS outlines policies for
   outdoor visitation and relaxed policies for indoor visitation in lower-risk settings such as counties with low positivity rates
   in the general population.

   32
        Note that step 1 guarantees that COVID and non-COVID deaths are non-missing regressors in step 2. Furthermore,
   by imputing backwards, we guarantee that these regressors are non-missing in every week. Finally, note that the impu-
   tation takes place week-by-week to account for (i) various COVID-19 waves that have occurred over time and (ii) the
   fact that some homes report cumulative cases, while others report weekly cases in the first week of reporting, May 24th,
   2020.

   33
        https://covidtracking.com/nursing-homes-long-term-care-facilities/data-by-state


   Appendix A. Preparation of the estimation sample

   We downloaded the CMS Covid-19 Nursing Home data file on August 2nd, 2021, which contains
   information reported through the week of July 18th, 2021; 61 weeks total. Our analysis is limited
   to the weeks ending May 24th, 2020 through May 9th, 2021; 51 weeks. Over this time-frame,
   15,421 homes report data to CMS in at least one week. Squaring the data produces 786,471
   home-week observations. Roughly 10 percent of these observations are missing or are flagged by
   CMS for poor quality (henceforth, “problem” observations); however, a small minority of homes
   account for most of the errors. We drop all homes with more than ten problem observations;
   15,110 homes and 770,610 observations remain, which includes just 4574 problem observations
   (0.59 percent of all observations), 28 percent of which are in the first two weeks of reporting.

   Cumulative death counts are calculated by CMS from weekly death reports; thus, any problem ob‐
   servations create measurement error in all cumulative counts moving forward. As such, we impute
   weekly death counts for all problem observations and recalculate the cumulative counts using the
   procedure that follows. Step 1: For the weeks ending May 2nd and May 9th of 2021 (not used in
                                                                 EXHIBIT 1
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8776351/              108                                                               30/43
           Case
12/11/23, 6:20 AM 3:24-cv-00040-ZNQ-TJB Nursing
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                                                home quality, Filed deaths,
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                                                                                       mortality    49 PageID: 238
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   any regression analysis in the paper), we regress weekly COVID-19 deaths and weekly non-COVID
   deaths on new county COVID-19 cases and the number of beds, as well as quadratics of these vari‐
   ables, for all non-problem observations. We then use the regression coefficients to predict weekly
   COVID and non-COVID deaths for problem observations in these weeks. Step 2: Starting with the
   week ending April 25th, 2021 (the last week used in regression analysis in the paper), we predict
   weekly COVID (non-COVID) deaths for problem observations using new county COVID cases and
   the number of beds, as well as quadratics of these variables, and COVID (non-COVID) deaths over
   the following two weeks at the nursing home. Step 3: repeats step 2 recursively for the weeks end‐
   ing April 18th, 2021 through May 24th, 2020.32

   Finally, note that among the 15,110 homes that comprise our final CMS sample (e.g., see summary
   statistics in Appendix Table A3), 205 homes cannot be matched to a home in the star-quality data,
   which explains the sample size of 14,905 in our main regression analysis.

   B. Data quality check

   To validate aggregate death counts in the CMS nursing home data, we compared it to data com‐
   piled by the COVID-19 Tracking Project (CTP), a web page maintained by the Atlantic.33 The au‐
   thors of the web page aggregate weekly data on COVID-19 deaths among nursing home residents
   using state COVID-19 dashboards, private correspondences with states, and state press confer‐
   ences. For many states, the CTP has data by individual facility. In these cases, we aggregated data
   by week up to the state level. Some states report weekly totals separated by sector (e.g., nursing
   homes, assisted living, etc.) while other states aggregate these sectors together making the data
   not comparable to the CMS statistics. Dropping states that either do not report nursing home
   deaths, do not distinguish between nursing homes and other senior living facilities like assisted liv‐
   ing, or do not report until after the first CMS weekly report on March 24th, 2020, we can generate
   consistent data from the two sources for 37 states. The CTP stopped collecting this data by March
   7th, 2021.

   In Table A1 , we report in the first column aggregate deaths in the first CMS nursing home report
   for the week ending May 24th, 2020, plus data from the CTP for the 37-state sample. The CMS data
   under-reports death counts by 14.5% for this first report. This is due to two potential limitations
   of the CMS data. First, some nursing homes did not report that first week. We believe this is a
   small component of the problem as mortality data is reported for 98% of nursing homes that
   week. Second, at the time of the first CMS report (May 24th), CMS allowed nursing homes the
   choice to report cases and deaths from the prior week or cumulative cases and deaths since
   January 1st. Thereafter, homes report weekly counts and a cumulative count is calculated by CMS;
   thus, if a home fails to report the cumulative count since January 1st on May 24th, the cumulative
   count that CMS calculates in future weeks is incorrect. In the second column of Table A1, we re‐
   port cumulative COVID-19 deaths through the last week of data in the CTP and in the final column,
   we compare the difference between the last and first dates. The fraction undercount in the CMS
   data is only 5.6 percent in early March 2021, and the difference in counts between these two dates
   is only 3.3 percent. These results suggest that the major under-reporting in the CMS data is occur‐
   ring in the first week, but that cumulative counts after the first week are more comparable to what
   nursing homes are reporting to states.
                                                         EXHIBIT 1
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8776351/      109                                                       31/43
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                                                                                       mortality   49 PageID: 239


        Table A1

        Comparing State and CMS Reports of COVID-19 Deaths in Nursing Homes for 37 States.

         Source                       Deaths as of 5/24/2020 (a) Deaths as of 3/7/2021 (b) Δ deaths (b) – (a)

         CMS (1)                      21,189                       104,374                         83,185

         State facility reports (2) 24,286                         110,254                         85,968

         Difference (2) – (1)         3079                         5880                            2783

         % difference (2) – (1)       14.5%                        5.6%                            3.3%

        Calculations made for the 37 US states reporting COVID-19 deaths among nursing home residents on state dash‐
        boards. State facility reports refer to the death counts from these dashboards, while CMS refers to the deaths
        counts in the CMS COVID-19 surveillance data discussed in Section II.A.




   This is visually verified in Fig. A1 where we plot on the horizontal axis the nursing home death
   counts as of March 24th, 2020 in the CTP data, while the vertical axis has the comparable data
   from the CMS data for our 37-state sample. There are a noticeable number of points that fall be‐
   low the 45-degree line, indicating CMS undercounts relative to CTP (i.e., state reports) at that time.




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https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8776351/             110                                                    32/43
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        Fig. A1

        Scatter Plot, State and CMS Reports of COVID-19 Deaths in Nursing Homes for 37 States, As of 5/24/2020

        Observations are the 37 US states reporting COVID-19 deaths among nursing home residents on state dashboards.
        The horizontal axis measures death counts from these dashboards, while the vertical axis measures deaths counts
        in the CMS COVID-19 surveillance data discussed in Section II.A.




   In Fig. A2 , we re-do Fig. A1 but use the difference in counts between March 2021 and May 2020
   as the outcome of interest. Here there is a much more even spread of points around the 45- de‐
   gree line.




                                                               EXHIBIT 1
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8776351/            111                                                      33/43
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        Fig. A2

        Scatter Plot, State and CMS Reports of COVID-19 Deaths in Nursing Homes for 37 States, Difference between
        3/7/2021 and 5/24/2020

        Observations are the 37 US states reporting COVID-19 deaths among nursing home residents on state dashboards.
        The horizontal axis measures death counts from these dashboards, while the vertical axis measures deaths counts
        in the CMS COVID-19 surveillance data discussed in Section II.A.




   These numbers suggest that to accurately assess the cumulative impact of COVID-19 mortality in
   nursing homes, we need to inflate the first week's numbers then recalculate cumulative deaths af‐
   ter that point. In Table A2 , we calculate cumulative deaths as of August 15th, 2021 by inflating the
   first CMS report by 14.5%, then adding to this the cumulative deaths reported to CMS between the
   first report and August 15th, 2021. Using this method, we estimate that there were 137,318
   COVID-19 deaths among nursing home residents as of August 15th, 2021. At that point in time,
   there were 634,179 COVID-19 deaths in total in the US, meaning that 21.7% of COVID-19 deaths
   were to nursing home residents.




                                                               EXHIBIT 1
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8776351/            112                                                      34/43
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        Table A2

        National Estimates of COVID-19 Deaths in Nursing Homes from Inflated CMS Data,As of 8/15/2021.

         Number                                           Death Count

         (1) National estimates as of 5/24/2020           25,354

         (2) Inflate by 14.5%                             29,030

         (3) Change between 8/15/2021 and 5/24/2020 108,288

         (4) total (3) + (2)                              137,318

        Row 1 measures death counts among nursing home residents in all 50 states as reported in the CMS COVID-19
        surveillance data discussed in Section II.A. Row 2 inflates this figure by the estimated 5/24/2020 undercount cal‐
        culated in Table A1. Row 4 adds to this figure deaths reported to CMS after 5/24/2020 (Row 3) which we've show
        are more accurately reported.




                                                               EXHIBIT 1
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8776351/            113                                                         35/43
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        Table A3

        Sample Characteristics, CMS Data on Nursing Homes, as of September 13th, 2020.

         Variable                                       Mean      S.D.

         Total beds                                     106.222 58.858

         Share of female residents                      0.663     0.119

         Share of female residents, missing             0.086     0.280

         Share of residents under 65 years old          0.226     0.177

         Share of residents under 65 years old, missing 0.547     0.498

         Share of black residents                       0.165     0.220

         Share of black residents, missing              0.446     0.497

         Share of hispanic residents                    0.049     0.134

         Share of black residents, missing              0.421     0.494

         Share of residents on Medicaid                 0.599     0.230

         For profit                                     0.702     0.457

         Acuity index                                   12.189    1.479

         Medicaid, profit, and acuity missing           0.062     0.242

         Observations                                   15,110

        The construction of this sample is discussed in Appendix Section A. Total beds is measured using the CMS COVID-
        19 surveillance data discussed in Section II.A. All other variables come from the LTC Focus database at Brown
        University.




   C. CMS star quality ratings

   The nursing home star ratings come from data.medicare.gov. There are three separate ratings –
   inspection, quality measures (QM), and staffing – which are aggregated by CMS into an overall rat‐
   ing. All three ratings, as well as the overall rating, measure quality in integer “star” values, where
   five-star is the best possible rating and one-star is the worst.

   The inspection rating is based on results from the home's three most recent state health inspec‐
   tions in a three-year period, with more weight given to the most recent inspections, as well as in‐
   vestigations stemming from formal complaints. The ratings used in our analysis were first re‐
   ported by CMS in June of 2020 and we can verify in the data that the latest inspections informing
   the rating took place in February of 2020, before the start of the pandemic. The QM rating is
   based on a home's self-reported ability to manage and prevent certain negative health outcomes
   (e.g., bedsores, ED visits, chronic pain, major injuries resulting from falls, urinary tract infections,
   etc.). The staff rating is a function of the reported number of registered nurses and total staffing
   hours relative to the number of residents.          EXHIBIT 1
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8776351/             114                                                     36/43
          Case
12/11/23, 6:20 AM 3:24-cv-00040-ZNQ-TJB Nursing
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   As the inspection rating is the only measure calculated from data that is not self-reported, it is
   viewed as the most objective and, thus, is given greater weight in the calculation of the overall star
   rating (Williams et al., 2010). The rating system has been criticized by many, especially the QM and
   staff rankings portions. Exposé s by the New York Times at various points in time (e.g.,
   Thomas, 2014; Silvger-Greenberg and Gebeloff, 2021) demonstrate that for many nursing homes,
   the self-reported data is at best incomplete and at worst fraudulent. Looking at the QM data,
   Sanghavi et al. (2019) document that only 57% of nursing home falls are reported to CMS.
   Comparing Medicare claims for inpatient services with data reported to CMS for the five-star rank‐
   ing, Integra Med Analytics (2021) found little correlation for hospital claims based measured of
   quality and what is reported in the five-star data for urinary tract infections, falls, and bed sores.
   Numerous authors have shown that the inspection rating is predictive of better health outcomes
   among residents (Fuller et al., 2019; Perraillon et al., 2017), but the strength of the relationship is
   in question for some scales. In one of the largest studies to date, Neuman et al. (2014) found the
   inspection rating predicted hospital readmissions for people discharged to a nursing home but the
   staff rating did not.

   Surveys suggest that the rating system is correlated with family and resident satisfaction with care
   (Çalikoglu et al., 2011), but that the inspection rating seems to be most correlated with these mea‐
   sures of satisfaction (Williams et al., 2016).

   The rating distributions across homes in our sample can be found in Appendix Table A4 below. In
   Appendix Table A5 we report the correlation coefficients across nursing homes for the four mea‐
   sures. It is not surprising that the overall quality and the inspection scale are the most correlated
   since the latter is weighted most heavily when calculating the former. The level of correlation be‐
   tween the inspection rating and QM and staff ratings is very low; the latter two ratings are also not
   highly correlated with one another.



        Table A4

        Distribution of Inspection Ratings in CMS Nursing Home Data.

         Star rating      Overall rating Inspection rating QM rating Staff rating

         1                0.151              0.193           0.049         0.075

         2                0.193              0.236           0.126         0.247

         3                0.178              0.224           0.196         0.276

         4                0.213              0.233           0.251         0.215

         5                0.252              0.102           0.363         0.114

         missing          0.014              0.014           0.014         0.074

         Observations 15,110


        Sample construction is discussed in Appendix Section A. Star ratings are taken from the CMS website.



                                                               EXHIBIT 1
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8776351/            115                                                37/43
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        Table A5

        Correlation if the Inspection Ratings in CMS Nursing Home Data.

         Star rating          Overall rating Inspection rating QM rating Staff rating

         Overall rating       1.000

         Inspection rating 0.860                 1.000

         QM Rating            0.504              0.233           1.000

         Staff rating         0.478              0.221           0.212       1.000

        Sample construction is discussed in Appendix Section A. Star ratings are taken from the CMS website.




                                                               EXHIBIT 1
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8776351/            116                                                38/43
          Case
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                                                                    deaths, and excess     17 -ofPMC
                                                                                       mortality   49 PageID: 246


        Table A6

        Robustness Analysis, non-COVID deaths measured 9/13/2020 unless stated otherwise.

                                                                                       Overall star rating

         Model                                                  Sample        Obs      2-star    3-star    4-star   5-star
                                                                Mean

         (1) Baseline (Table 3, row 9)                          10.15         14,905   0.034     0.070     0.088    0.114

                                                                                       (0.029) (0.031) (0.034) (0.041)

         (2) Model (1), but Poisson                             10.15         14,905   0.045     0.051     0.043    0.059

                                                                                       (0.052) (0.085) (0.072) (0.057)

         (3) Model (1) but OLS with ln(deaths+1)                8.84          11,532   0.033     0.091     0.118    0.123

                                                                                       (0.038) (0.038) (0.042) (0.053)

         (4) Model (3) but add county FE                        1.84          14,905   0.041     0.073     0.099    0.127

                                                                                       (0.034) (0.034) (0.036) (0.047)

         (5) Model (1) but OLS with inverse hyperbolic sine 1.84              14,905   0.069     0.071     0.127    0.159
         of deaths

                                                                                       (0.046) (0.046) (0.049) (0.064)

         (6) Model (5) but add county FE                        2.29          14,905   0.047     0.089     0.117    0.148

                                                                                       (0.041) (0.040) (0.044) (0.056)

         (7) Model (1) but OLS with inverse hyperbolic sine 2.29              14,905   0.080     0.088     0.151    0.186
         of death rate (per 100 beds)                                                  (0.055) (0.055) (0.059) (0.077)

         (8) Model (7) but add county FE                        2.29          14,905   0.047     0.089     0.117    0.148

                                                                                       (0.041) (0.040) (0.044) (0.056)

         (9) Model (1) but add controls for staff hours per     2.29          14,905   0.080     0.088     0.151    0.186
         resident day                                                                  (0.055) (0.055) (0.059) (0.077)

         (10) Model (1) but add controls for republican         10.15         14,558   0.031     0.064     0.081    0.112
         share of county                                                               (0.030) (0.033) (0.035) (0.042)

         (11) Model (1) but add controls for any staff and      10.15         14,888   0.033     0.071     0.090    0.118
         resident cases, as well as counts                                             (0.029) (0.031) (0.034) (0.041)

         (12) Model (1) but add controls for shortage counts 10.15            14,905   0.032     0.072     0.087    0.112

                                                                                       (0.029) (0.031) (0.034) (0.039)


        Standard errors allow for arbitrary correlation across observations within a state. Other controls in the models in‐
        clude logged total beds; percent of residents that are female, under 65, black, Hispanic, on Medicaid (along with
        corresponding indicators for missing variables); for-profit status; acuity index; county-level COVID-19 cases per
        1000 residents (measured 23 days prior to death); logged county population; and a full set of state fixed effects.



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                                        Document       1-7 COVID-19
                                                home quality, Filed 01/04/24       Page
                                                                    deaths, and excess     19 -ofPMC
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https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8776351/             119                                                            41/43
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     Comparative Study               JAMA Netw Open. 2021 Sep 1;4(9):e2122885.
   doi: 10.1001/jamanetworkopen.2021.22885.


   Estimates of COVID-19 Cases and Deaths Among
   Nursing Home Residents Not Reported in Federal
   Data
   Karen Shen 1 , Lacey Loomer 2 , Hannah Abrams 3 , David C Grabowski 4 , Ashvin Gandhi 5

   Affiliations
   PMID: 34499136 PMCID: PMC8430452 DOI: 10.1001/jamanetworkopen.2021.22885
   Free PMC article


   Abstract
   Importance: Federal data underestimate the impact of COVID-19 on US nursing homes because
   federal reporting guidelines did not require facilities to report case and death data until the week
   ending May 24, 2020.

   Objective: To assess the magnitude of unreported cases and deaths in the National Healthcare Safety
   Network (NHSN) and provide national estimates of cases and deaths adjusted for nonreporting.

   Design, setting, and participants: This is a cross-sectional study comparing COVID-19 cases and
   deaths reported by US nursing homes to the NHSN with those reported to state departments of
   health in late May 2020. The sample includes nursing homes from 20 states, with 4598 facilities in 12
   states that required facilities to report cases and 7401 facilities in 19 states that required facilities to
   report deaths. Estimates of nonreporting were extrapolated to infer the national (15 397 facilities)
   unreported cases and deaths in both May and December 2020. Data were analyzed from December
   2020 to May 2021.

   Exposures: Nursing home ownership (for-profit or not-for-profit), chain affiliation, size, Centers for
   Medicare & Medicaid Services star rating, and state.

   Main outcomes and measures: The main outcome was the difference between the COVID-19 cases
   and deaths reported by each facility to their state department of health vs those reported to the
   NHSN.

   Results: Among 15 415 US nursing homes, including 4599 with state case data and 7405 with state
   death data, a mean (SE) of 43.7% (1.4%) of COVID-19 cases and 40.0% (1.1%) of COVID-19 deaths
   prior to May 24 were not reported in the first NHSN submission in sample states, suggesting that 68
   613 cases and 16 623 deaths were omitted nationwide, representing 11.6% of COVID-19 cases and
   14.0% of COVID-19 deaths among nursing home residents in 2020.

   Conclusions and relevance: These findings suggest that federal NHSN data understated total cases
   and deaths in nursing homes. Failure to account for this issue may lead to misleading conclusions
   about the role of different facility characteristics and state or federal policies in explaining COVID
   outbreaks.

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      Figure 4.. Estimated and
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   Underreporting of Early Nursing Home COVID-19 Cases and Deaths in Federal Data.
   White EM.
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    Elders in residence

    It has the highest death rate of any nursing
    home in the US. Families want to know why

    As numbers climbed at a facility for veterans
    in New Jersey, the rights of grieving family
    members fell away
    by Ann Neumann
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    Experts say proper infection control, long a problem in nursing home care, could have largely mitigated the
    number of deaths. Illustration: Erre Gálvez/The Guardian

    Wed 28 Oct 2020 01.00 EDT

    Update, 7 January 2022: Last week New Jersey awarded $53m to more than 100
    families of veterans who died in two nursing homes in the state, Menlo Park
    and Paramus. The settlement, likely the first in the country for Covid deaths at
    a medical facility, answers a question that families of nursing home residents
    across the country have been asking since the early months of the pandemic
    when a rash of immunity laws were passed at the state level to protect nursing
    home operators: can immunity laws prevent facilities from being held to
    account for Covid deaths? One lawyer, Paul da Costa, who represented the
    families of 74 residents of Menlo Park, told us in late 2020 that he believed the
    laws would not impede justice. He was right. The families he represented will
    receive more than $440,000 each. Understaffing, rampant fraud, supply
    shortages and other chronic issues continue to plague the long-term care
    industry; how the settlement will influence reform that protects residents from
    present and future waves of the virus is still unclear.

    By noon on 16 September, more than 100 people had gathered at the end of
    the long drive that leads to the Menlo Park Veterans’ Memorial Home in New
    Jersey. Eighteen-inch letters – red, white, and blue – spelling “THANK YOU
    HEROES” were pushed into the sod beneath a semi-permanent sign that
    reads “Now accepting job applications” and “SERVING THOSE WHO
    SERVED”.

    Staff members – mostly Black, mostly female – stood to the right of a podium.
    To the left stood family members holding framed photos of their loved ones,
    former residents of Menlo Park who had died over the past several hellish
    months, either in the facility or in a nearby hospital.

    Gary White, the no-nonsense, cigar-chewing commandant of the local
    Marine Corps League – an 80-year-old federal organization and advocacy
    group for marine veterans – organized the event. White told the crowd that
    Menlo Park’s residents had, as service members, “given America a blank
    check payable up to and including their lives”, but that during the pandemic,
    “veterans died who never should have”. A week before the protest, White
    had received calls and emails from family members who were shocked by
    their loved one’s deaths, who had never even been told their father or
    grandfather was sick. “They asked me to do something,” he said.



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Left to right: Nancy Pike holds a photograph of her father Alois Franko; Susan Vella holds a photograph of her father
Frank Vella; and Keith Prendergrast holds a photograph of his father William Prendergrast. Photograph: Victor J
Blue/The Guardian

    By late May, there were only 177 residents at Menlo Park, down from 300 in
    early March. A recent Wall Street Journal investigation shows that many of
    the dead were never tested for Covid-19, their official cause of death
    recorded as pneumonia or sepsis. Though the facility’s management
    maintains that the official death count from Covid-19 is 62, the investigation
    concluded that 101 residents had died of Covid-19 at Menlo Park since March,
    the highest single death rate of any nursing home in the country.

    At the protest, families and staff cited a gross lack of communication about
    what was happening inside the facility, a senseless ban of mask-wearing in
    the early weeks of the pandemic, and a continued effort to cover up the total
    number of deaths at Menlo Park, as the cause of their attendance.
    “Negligence is Murder,” read one sign, held by a grieving family member,
    “Where was their PPE?” Outraged by the mass deaths, at least 35 families and
    22 employees have retained lawyers.

                                                                   The protest was brief, but one family
                                                                   member, White told me, said it was
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                                            the only memorial they’d had for
                                            their grandfather. As people in the
                                            crowd wiped their eyes and began to
                                            wander back to their cars, staff
                                            members gathered around Shirley
                                            Suddoth-Lewis, the president of
    box                                     their local union who has worked at
                                            Menlo Park since 1984, as she
    handed out white balloons. When they released them into the air they said in
    unison the name of their colleague, Monemise Romelus. She had contracted
    Covid-19 before she was given access to PPE and died in May.

    They want accountability. They want transparency. They want justice. But in
    April, New Jersey passed an immunity law intended to protect nursing home
    owners from responsibility for Covid-19 deaths, a law that nursing home
    operators hope will stand in the way of what the bereaved most desire.
    Despite the fact that nationally more than 50,000 nursing home residents
    and 750 staff members have died so far from Covid-19, at least 26 states have
    passed some form of immunity law that shields long-term care facilities and
    healthcare providers from Covid-19-related civil negligence lawsuits. A
    recent article in ABA Journal, a publication of the American Bar Association,
    states: “Those measures generally bar claims for standard negligence, only
    allowing claims for harder-to-prove gross negligence, willful misconduct or
    fraud.”

    Immunity laws are often passed by state and federal governments in the
    event of a crisis. But the decision to protect the nursing home industry,
    betrays legislators’ – and perhaps society’s – erroneous assumption that
    elders’ deaths were inevitable, that their lives were worth little or too frail to
    be saved. Clinicians and advocates alike have countered that proper infection
    control, long a systemic problem in nursing home care, could have largely
    mitigated the number of deaths.




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Tanya Montuore cries as her husband Robert Montuore comforts her. Photograph: Victor J Blue/The Guardian

    “This is simple,” Robert Montuore told me, “if they had just followed
    standard protocol.” His wife, Tanya stood next to him, holding a photo of her
    father, former marine Howard H Cognac Sr, who died at Menlo Park in April.

    “Pop” lived with the Montuores and their daughter, Samantha, for 12 years
    after the death of his wife, Celeste. But when he began to use a mobility
    chair, the Montuores moved him into room 511 on Eagle wing at Menlo Park
    in February. The Montuores spoke with him daily, with Tanya joining her
    father for lunch at Buddy’s, the restaurant in Menlo Park’s “town hall”,
    almost every day. The last lunch she had with him was on 11 March; the
    following day the facility notified the Montuores that Menlo Park was closed
    to visitors. As staff and family gathered for the protest, the Montuores told
    me about the horror of the next four weeks, as they struggled to get Pop on
    the phone or to receive reliable updates from Menlo Park staff.

    According to a letter the Montuores wrote to their local senator,
    assemblywoman and Gary White (who shared it with me, with permission)
    Pop called them a last time a little after 8pm on 5 April, “hysterical” because
    management had taken away his mobility chair and put him in a bed without
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    a call button. “His final words were, ‘I’m not going to make it out alive,’” the
    Montuores wrote. “That was the last conversation we had with him.” Two
    days later they were told that Cognac was having trouble breathing and had
    an elevated heart rate, two signs of Covid-19 infection. They begged for a
    test. “No fever, no test,” they were told repeatedly by staff over the next few
    days. At one point, a staff member used her personal phone to help Pop
    speak to his family. Then on 11 April the facility’s nurse practitioner called to
    tell them that Pop was failing; when they asked if he had Covid, she said no,
    heart failure.

    On the 16th, they called again for an update on Pop’s status. An hour later the
    nurse practitioner called back to tell them that he was dead.

       Several attorneys I spoke A few days before the protest, the Montuores
    with believe that Menlo       found out that Pop’s roommate, Daniel
    Park’s lawsuits are the first Bartus, had died of Covid-19 on 5 April. At
    in a wave that will sweep     the protest, Gary White called Tanya
    the country                   Montuore up to the microphone to speak.
                                      “They were devalued as human beings,” she
    said of the Menlo Park residents, “and there were countless unnecessary
    deaths, of my dad and so many others. Why?” She paused to wipe tears from
    her face. The next day the Montuores sent me two last telephone messages
    they received from Cognac, found after his death as they put together
    information for a case against Menlo Park for their lawyer. “Hi T,” Cognac
    says, explaining that he can’t use the phone very much because his wing is
    on lockdown. And then his voice breaks. “I’m worried, Honey” he says, and
    in a whisper, “I think I have one of the [symptoms]. I love you, Honey. If
    anything happens … ” A sob. “I miss you so much.”

    The Montuores are only one of dozens of Menlo Park families who are
    seeking legal accountability for the loss of their loved ones. They fear that
    state and non-profit defendants will successfully leverage immunity laws to
    escape legal repercussions; but knowing the pain and suffering of their loss,
    they can’t imagine the courts won’t also want to know why helpless elders
    were left to die. Several attorneys I spoke with believe that Menlo Park’s
    lawsuits are the first in a wave that will sweep the country.




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    Daria Lisco, left, and Liz Vigren, right, hold photographs of their father Charles VanderPyle.
    Photograph: Victor J Blue/The Guardian

    State and federal long-term care advocates loudly opposed immunity laws
    and claim that the firestorm of Covid-19 that has ravaged long-term care
    facilities was only made possible by decades of poor management, gross
    understaffing, debilitating cost cutting, systemic Medicare and Medicaid
    fraud, poor infection control and the lack of meaningful federal or state
    oversight of residents’ care. “Legal liability has always functioned as a
    safeguard for nursing home residents by incentivizing nursing homes to
    provide quality care and comply with laws and regulations,” advocates wrote
    in a letter to the Senate judiciary committee on 11 May.

    Nonetheless, in New York, a provision was included in the annual budget,
    passed in April, that provided broad immunity to long-term care facilities.
    Governor Andrew Cuomo has drawn criticism for organizing the transfer of
    elderly Covid-positive patients from overwhelmed hospitals to nursing
    facilities. In August, the law was amended and significantly narrowed,
    removing protections for non-Covid patients.

    On 6 May, the Pennsylvania governor, Tom Wolf, passed an executive order
    granting immunity. Still, several lawsuits have already been filed in
    Pennsylvania, including one by the family of Elizabeth Wiley, a housekeeper
    who had worked at Brighton Rehabilitation and Wellness in Pittsburgh for
    three decades and died of Covid-19 on 10 May.
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    Robert Sachs Jr, an attorney in Pennsylvania, where the nursing home deaths
    have made up between 60 and 70% of Covid-19 deaths so far, has learned
    from case inquiries, that many facilities “had the ability and the knowledge
    of what was coming to protect their populations and didn’t take any steps”.
    He added that the department of health “did an absolutely abysmal job” of
    helping facilities to prepare for the pandemic.

    On 1 April, the New Jersey governor, Phil Murphy, enacted an executive order
    that granted broad immunity to nursing homes and healthcare providers and
    little more than a week later, he also signed a law. But there’s also a federal
    law, the Prep Act, a pandemic readiness plan passed in 2005 by the George W
    Bush administration in the wake of the avian influenza, that some facilities
    hope will provide them with immunity protections.

    Yet, some attorneys, like Paul da Costa in New Jersey, who is representing
    dozens of Menlo Park staff and family members, believe that some claims
    may not be confined to the Prep Act laws (which address use of medical
    countermeasures) because they address absence of measures, namely the
    lack of proper infection control, and the now common accounts of
    management preventing mask and other PPE use.

    In perhaps the first post-Covid decision of its kind, Estate of Maglioli v
    Andover Subacute Rehab, the courts have shown a willingness to see such
    cases go ahead. Plaintiffs asked the federal court to remand the case back to
    the state, against the defendants’ argument that the Prep Act prevented the
    case’s continuation. The court agreed with the plaintiffs, leaving the decision
    up to the state court.




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     Graphic
    Glenn Osborne watched the protest from inside Menlo Park. “What a
    privilege that was to witness,” he told me by email. I’d met him in person the
    week before by taking advantage of Menlo Park’s new visitation program,
    “Operation Rocking Chair”, which allows residents and visitors to spend 15
    minutes together, masked, outside, six feet apart. I saw a steady stream of
    grateful sons and daughters file through the registration pavilion
    (reservations must be made in advance) the day I visited Osborne. I was his
    first visitor in six months.

    Osborne is a former marine with service-induced ALS. He speaks in a
    breathy, halting voice because the disease has restricted his breathing.
    Osborne, who is kind-faced, laser-focused and tireless, is the president of the
    resident’s association. If anything is on the minds of residents at the facility,
    they call on him. For that reason, staff members told me they worried about
    Osborne; he’d been writing letters to the facility’s administration and related
    agencies with various concerns for years. They feared management
    retaliation against him.

    Shirley Suddoth-Lewis, who worked at Menlo Park for more than 30 years,
    knew from experience; she also feared retaliation from the CEO, Elizabeth
    Schiff-Heedles, who called an all-staff meeting on 16 March to announce
    there was no Covid in the building. “She told us, ‘We don’t want anyone to
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    wear masks, the masks will scare the residents,’” Suddoth-Lewis said.
    “Everybody was in the lunchroom and you could tell people wanted to ask
    questions, but they were afraid because they might go after you.”

      Let’s be candid, we know this is what
    we call our final mission
    Glenn Osborne
    But Osborne felt a strong sense of responsibility to his fellow residents and
    refused to be quiet. In a single-spaced, three-page letter to the department of
    health in August, Osborne addressed the toll that isolation has taken on the
    residents, leaving them to feel forgotten, disregarded, alone. He asked when
    outside time will resume, when residents, whose personal belongings were
    boxed up by the national guard during the height of the pandemic and stored
    in the basement, will be returned. And he asked questions regarding
    management’s actions in April and May. “Why did our CEO purposely
    prevent employees from wearing PPE?” he wrote.

    Osborne told me residents try not to talk about the losses. “Many of the
    residents were longtime friends before they ever entered the facility. The
    people who lived at Menlo Park were vibrant, leading rich lives as artists,
    writers and storytellers,” Osborne said. “You know, this is our home, this was
    our life. And we knew what we’re here for. Let’s be candid, we know this is
    what we call our final mission.”

                                                                   Like several others I spoke with,
                                                                   including Suddoth-Lewis, Osborne
                                                                   witnessed PPE being removed from
                                                                   staff members’ access. Osborne,
                                                                   Suddoth-Lewis, and others also
                                                                   questioned management’s decision
                                                                   to move patients around the facility.
                                                                   Covid-19 positive and Covid-
                                                                   suspicious residents were often
                                                                   moved downstairs, to the dementia
                                                                   ward. One resident of a shared room
                                                                   would be taken downstairs to
                                                                   quarantine while his or her
                                                                   roommate remained. Or patients
                                                                   would be returned to shared rooms
                                                                   when they came back from the
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                                                                   hospital. These accounts – and the
                                                                   methodology behind them –
                                                                   bewildered Osborne and many staff
                                                                   members who were unable to ask
                                                                   questions but only follow orders.
                                                                   And if there was a plan to
                                                                   management’s mitigation efforts, the
                                                                   veterans and staff were never
                                                                   informed of it. “Transparency in
                                                                   communication in all areas of
                                                                   operations, especially those that
                                                                   pertain directly to us Veterans, is
                                                                   exceedingly rare,” Osborne wrote.

                                                 Perhaps the most chilling part of
                                                 Osborne’s account is his suspicion
                                                 that he will be retaliated against. “I
                                                 know he’s going to be a target. I
                                                 know it,” Suddoth-Lewis told me on
                                                 the phone, “Because this
    Shirley Suddoth-Lewis, head of the local
    AFSCME union, worked at Menlo Park for more  administration is so brutal. I mean
    than 30 years. Photograph: Victor J Blue/The they have no remorse.” Management
    Guardian                                     has remained opaque and unwilling
                                                 to consider the input of residents in
    their care—or even the professional staff employed to provide it. “We
    continue to feel our lives are at risk and our patient’s rights and dignities are
    ignored,” Osborne wrote in the letter to the department of health.

    During my “Operation Rocking Chair” visit a week before the protest, I left
    some snacks and toiletries for Osborne on the patio for him. For this,
    management punished Osborne with a citation. Should he receive a second
    citation, he will altogether lose the ability to see visitors.

    For his dogged outspokenness and commitment to bringing residents’
    concerns forward, attorney Da Costa has called Osborne a hero. To the staff
    of Menlo Park, Shirley Suddoth-Lewis is a hero too. She had planned to retire
    in December, but when she started thinking about a second wave of the
    pandemic, she retired early, a few weeks before the protest. She told me, “It
    was my anxiety from working there because certain things to me weren’t
    done as they should have been.”


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    In August, state senator Joseph Vitale, chairman of the senate health
    committee, hosted an online hearing. Gary White, Paul da Costa, and Glenn
    Osborne all testified about their experiences with Menlo Park. Vitale called
    for the resignation of the Menlo Park CEO, Elizabeth Schiff-Heedles (who did
    not return multiple requests for comment). But the spokesman for the New
    Jersey department of military and veterans affairs, Kryn Westhoven, publicly
    expressed support for Schiff-Heedles – and the CEOs of the other two
    veterans’ nursing homes in New Jersey, Paramus, where the official death
    count is at 81, and Vineland, where the count is three. A total of at least five
    thousand nursing home residents (veterans’ and civilian combined) have
    died in New Jersey.




Veterans and family members release balloons in honor of those they lost. For some, this was the only memorial
they’d have for their loved ones. Photograph: Victor J Blue/The Guardian

    For now it seems little has been done to address the actions of the Menlo
    Park administration during the height of the pandemic’s first wave – nor to
    prepare for the potential second wave. Suddoth-Lewis may have retired, but
    her responsibilities to her fellow union members are not over. As we spoke
    on the phone one afternoon, three of her great-grandchildren playing in the

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https://www.theguardian.com/us-news/2020/oct/28/nursing-homes-america-new-jersey-coronavirus                                               13/14
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    background, texts continued to come in, texts from staff members at Menlo
    Park. We said goodbye so she could check each one.

    This story was supported by the journalism non-profit the Economic Hardship
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    CORONAVIRUS


    Covid death toll at N.Y. state nursing homes 50 percent higher
    than reported, AG says
    New York still leads the nation in Covid-19 deaths with nearly 44,000, NBC News data shows.




            Refrigeration trucks serve as temporary morgues at the South Brooklyn Marine Terminal in New York on
    May 25. Noam Galai / Getty Images file




    Jan. 28, 2021, 12:04 PM EST / Updated Jan. 28, 2021, 4:56 PM EST

    By Corky Siemaszko


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    The New York state Health Department underreported the Covid-19 death toll in nursing homes
    by as much as 50 percent, the state’s attorney general charged Thursday.

    More nursing home residents died from the coronavirus than the Health Department’s
    "published nursing home data reflected and may have been undercounted by as much as 50
    percent,” Attorney General Letitia James' investigators concluded in 76-page report.


    Full coverage of the coronavirus outbreak

    “As the pandemic and our investigations continue, it is imperative that we understand why the
    residents of nursing homes in New York unnecessarily suffered at such an alarming rate,” James
    said in a statement.




   New York attorney general finds state may have undercounted Covid nursing home deaths




    New York leads the country in the number of Covid-19 deaths with 43,734, according to the latest
    NBC News tally, most of which occurred in the early days of the pandemic, when public health
    officials were trying figure out how the disease was spreading.


    There was no immediate response from Gov. Andrew Cuomo, a Democrat whose pandemic
    response has been widely praised but who has also been criticized for waiting until May to

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    reverse a state policy that required long-term care facilities to accept recovering patients who
    may still test positive for Covid-19.

    Cuomo has insisted that it was up to the nursing homes to alert state health officials if they were
    not equipped to take care of infected residents. And a report issued by the state in July laid the
    blame for the more than 8,500 deaths of seniors on staffers who unwittingly infected residents.


    Dr. Howard Zucker, the state health commissioner, insisted in a statement that there was no
    "undercount."

    "The word 'undercount' implies there are more total fatalities than have been reported; this is
    factually wrong," Zucker said. "The OAG's report is only referring to the count of people who
    were in nursing homes but transferred to hospitals and later died. The OAG suggests that all
    should be counted as nursing home deaths and not hospital deaths even though they died in
    hospitals."

    Cuomo's office said Thursday the state followed federal guidance when issuing its order on
    nursing homes.

    Zucker added that "the report's findings that nursing home operators failed to comply with the
    State's infection control protocols are consistent with DOH's own investigation."

    Asked at a previously scheduled news conference about the attorney general's report, New York
    City Mayor Bill de Blasio said, "We have to get the full truth, and we have to make sure it never
    ever happens again, nothing like this happens again, and we have to be honest about the
    numbers."

    De Blasio and James are also Democrats.



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                     ISRAEL-HAMAS WAR
                     Gaza's health system is 'collapsing' and battles are intensifying in the south




    State Rep. Elise Stefanik, a staunch supporter of former President Donald Trump, joined other
    Republicans in calling for the resignations of Cuomo and Zucker.


    "This is now more than a nursing home scandal, this is a massive corruption and coverup
    scandal at the highest level of New York State Government implicating the Governor, the
    Secretary to the Governor, the New York State Health Commissioner and the Governor’s staff,"
    Stefanik said in a statement.

    The attorney general’s office launched an investigation last spring after whistleblowers reported
    that residents who tested positive for Covid-19 were being “intermingled” with healthy residents
    and that the nursing homes were failing to adequately test workers for the coronavirus and
    making “sick employees continue to work and care for residents or face retaliation or
    termination.”

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    Soon, investigators began noticing discrepancies between the numbers of Covid-19 nursing home
    deaths they were seeing and the numbers being reported by the Health Department.

    “Preliminary data obtained by O.A.G. suggests that many nursing home residents died from
    Covid-19 in hospitals after being transferred from their nursing homes, which is not reflected in
    D.O.H.’s published total nursing home death data,” a summary of the report reads.


    Investigators, in their survey of 62 nursing homes (about 10 percent of the total statewide), also
    noticed another pattern.

    “The investigations also revealed that nursing homes’ lack of compliance with infection control
    protocols put residents at increased risk of harm, and facilities that had lower pre-pandemic
    staffing ratings had higher COVID-19 fatality rates,” the report states.


    As a result of the report, the attorney general’s office said it will investigate more than 20 nursing
    homes whose conduct during the first wave of the pandemic “presented particular concern.”



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    The New York State Nurses Association did not weigh in on the alleged death toll undercounting
    in a statement issued Thursday, but it did applaud James for probing other issues, like the
    shortages of personal protection equipment that were rife early on in the pandemic.


    "The report confirms what we have heard from members since the Spring of 2020: Many long-
    term care facilities lacked adequate PPE, basic infection control procedures, safe staffing, and
    quarantine protocols to mitigate the spread of COVID-19 within facilities," the NYSNA said in a
    statement. "A key finding of the report is that poor staffing increased mortality rates, adding to
    the large body of evidence that shows safe staffing saves lives."




                 Corky Siemaszko



    Corky Siemaszko is a senior reporter for NBC News Digital.




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   NY data show nursing home deaths undercounted by thousands




                      BY MARINA VILLENEUVE, BERNARD CONDON AND MATT SEDENSKY
                      Published 10:54 AM EST, January 28, 2021


                      ALBANY, N.Y. (AP) — New York Gov. Andrew Cuomo’s administration confirmed Thursday that thousands
                      more nursing home residents died of COVID-19 than the state’s official tallies had previously acknowledged,
                      dealing a potential blow to his image as a pandemic hero.

                      The surprise development, after months of the state refusing to divulge its true numbers, showed that at
                      least 12,743 long-term care residents died of the virus as of Jan. 19, far greater than the official tally of 8,505
                      on that day, cementing New York’s toll as one of the highest in the nation.

                      Those numbers are consistent with a report released just hours earlier by state Attorney General Letitia
                      James charging that the nursing home death count could be off by about 50%, largely because New York is
                      one of the only states to count just those who died on facility grounds, not those who later died in the
                      hospital.

                      “While we cannot bring back the individuals we lost to this crisis, this report seeks to offer transparency that
                      the public deserves,” James said in a statement.

                      The 76-page report from a fellow Democratic official undercut Cuomo’s frequent argument that the criticism
                      of his handling of the virus in nursing homes was part of a political “blame game,” and it was a vindication for
                      thousands of families who believed their loved ones were being omitted from counts to advance the
                      governor’s image as a pandemic hero.

                      “It’s important to me that my mom was counted,” said Vivian Zayas, whose 78-year-old mother died in April
                      after contracting COVID-19 at a nursing home in West Islip, New York. “Families like mine knew these
                      numbers were not correct.”

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https://apnews.com/article/new-york-nursing-home-coronavirus-deaths-a6c214f4467976efdfca9ba75f8adaef                                                         1/2
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                    Cuomo’s office referred all questions to the state health department. Several hours after the report, State
                    Department of Health Commissioner Howard Zucker released a lengthy statement attempting to refute
                    James’ report but which essentially confirmed its central finding.

                    Zucker’s figure of 12,743 nursing home resident deaths included for the first time 3,829 confirmed COVID-19
                    fatalities of those residents who had been transported to hospitals.

                    Those figures could be even higher, but the health department said its audit was ongoing, didn’t break out
                    deaths presumed but not confirmed to be caused by the virus, and omitted those in assisted living or other
                    types of long-term care facilities.

                    Zucker, however, still took issue with James’ characterization of his department’s official tally as an
                    “undercount.” He said “DOH was always clear that the data on its website pertains to in-facility fatalities.”

                    James has for months been examining discrepancies between the number of deaths being reported by the
                    state’s Department of Health, and the number of deaths reported by the homes themselves.

                    Her investigators looked at a sample of 62 of the state’s roughly 600 nursing homes. They reported 1,914
                    deaths of residents from COVID-19, while the state Department of Health logged only 1,229 deaths at those
                    same facilities.

                    Thursday’s release backed up the findings of an Associated Press investigation last year that concluded that
                    the state could be understating deaths by as much as 65%.

                    State Sen. Gustavo Rivera, a Democrat who has blasted the Cuomo administration for its incomplete death
                    count, said he was “sadly unsurprised” by the report.

                    “Families who lost loved ones deserve honest answers,” Rivera said. “For their sake, I hope that this report will
                    help us unveil the truth and put policies in place to prevent such tragedies in the future.”

                    Cuomo, who last fall released a book touting his leadership in dealing with the virus, has not been shy about
                    using New York’s lower nursing home death count to make the argument that his state is doing better than
                    others in caring for those in such facilities.

                    “There’s also no doubt that we’re in this hyper-political environment so everybody wants to point fingers,”
                    Cuomo told CBS “This Morning” in October. “New York, actually, we’re number 46 out of 50 in terms of
                    percentage of deaths in nursing homes ... it’s not a predominantly New York problem.”

                    The attorney general’s report also took aim at New York’s controversial March 25 policy that sought to create
                    more space in hospitals by releasing recovering COVID-19 patients into nursing homes, which critics
                    contended was a driving factor in causing nursing home outbreaks.

                    James’ report said those admissions “may have contributed to increased risk of nursing home resident
                    infection and subsequent fatalities,” noting that at least 4,000 nursing home residents with COVID-19 died
                    after that guidance. But James’ report said the issue would require further study to conclusively prove such a
                    link.

                    New York’s health department released a much-criticized report last summer that claimed the March 25
                    policy, which was reversed in May, was “not a significant factor” in deaths.

                    James’ review also found that a lack of infection controls at nursing homes put residents at increased risk of
                    harm, that homes with lower federal scores for staffing had higher fatality rates, and that a broad measure
                    Cuomo signed in April shielding nursing homes and other health care providers from lawsuits may have
                    actually encouraged homes to hold back on hiring and training.

                    “As the pandemic and our investigations continue,” she wrote, “it is imperative that we understand why the
                    residents of nursing homes in New York unnecessarily suffered at such an alarming rate.”




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       Over 200,000 Residents and Staff in
       Long-Term Care Facilities Have Died
       From COVID-19
       Priya Chidambaram (https://www.kff.org/person/priya-chidambaram/)

       Published: Feb 03, 2022

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       More than 200,000 long-term care facility (LTCF) residents and staff have died due to
       COVID since the start of the pandemic (Figure 1). The CDC’s latest update
       (https://www.cdc.gov/nhsn/covid19/ltc-report-overview.html) reporting data on nursing home
       deaths as of January 30th pushes the reported number of deaths over this bleak milestone.
       This finding comes at a time when the national surge in cases due to the Omicron variant
       has started to subside, deaths are rising nationwide, and nursing homes have been
       working to increase vaccination and booster rates among residents and staff, particularly
       in light of the new federal rule requiring staff vaccination recently allowed to take effect by
       the Supreme Court. As of January 16th, approximately 82% of nursing home staff and 87%
       of nursing home residents are fully vaccinated (https://data.cms.gov/covid-19/covid-19-nursing-
       home-data).

       This death count is based on state and federal data sources. For the period between
       March 2020 and June 2021, the total number of deaths is based on state-reported data on
       LTCFs, including nursing homes, assisted living, and group homes, that summed to
       187,000 resident and staff deaths. For the subsequent period between July 2021 and
       January 2022, we incorporated data reported to the federal government by nursing
       facilities (excluding other types of LTCFs), adding another 14,000 resident and staff deaths
       to the total. The total number of resident and staff deaths from these two sources,
       roughly 201,000, is likely an undercount of the true number of resident and staff deaths in
       LTCFs since it excludes deaths in long-term care settings other than nursing homes after
       June 30th, 2021. Additionally, not all states reported data on all types of LTCFs prior to June
       2021.


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       COVID-19 deaths in LTCFs make up at least 23% of all COVID-19 deaths in the US
       (Figure 1). This share has decreased since the start of the pandemic, when LTCF deaths
       were nearly half of all deaths nationally (https://www.kff.org/report-section/key-questions-about-the-
                                           The independent source for health policy research, polling, and news.
       impact-of-coronavirus-on-long-term-care-facilities-over-time-issue-brief/). This share has dropped over
       time for a number of reasons, including high rates of vaccination (https://data.cms.gov/covid-
       19/covid-19-nursing-home-data) among residents, rising vaccination rates among staff, an
       increased emphasis on infection control procedures (https://www.cdc.gov/coronavirus/2019-
       ncov/hcp/long-term-care.html), declining nursing home occupancy, and the lack of data on
       deaths in assisted living and LTCFs other than nursing homes in recent months. Despite
       this drop as a share of total deaths, nursing homes have continued to experience
       disproportionately high case and death rates (https://www.kff.org/coronavirus-covid-19/issue-
       brief/key-questions-about-nursing-home-cases-deaths-and-vaccinations-as-omicron-spreads-in-the-united-
       states/) in the country during the recent surge. Higher case rates may be attributed to the
       highly transmissible nature of Omicron and the nature of congregate care settings. Higher
       death rates may be attributed to the high-risk status of those who reside in nursing
       homes.




                                                                           EXHIBIT 1
                                                                             146
https://www.kff.org/policy-watch/over-200000-residents-and-staff-in-long-term-care-facilities-have-died-from-covid-19/          2/5
          Case
12/11/23, 6:27 AM 3:24-cv-00040-ZNQ-TJB       Document
                                 Over 200,000 Residents      1-7in Long-Term
                                                        and Staff   Filed 01/04/24
                                                                             Care Facilities Page   47From
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           Figure 1

           Long-Term Care Facility Residents and Staff Account for
                             The independent source for health policy research, polling, and news.
           More Than 201,000 COVID-19 Deaths, and At Least 23% of
           All COVID-19 Deaths in the U.S., As of 1/30/2022.




                                               COVID-19 Deaths
                                              in Long-Term Care
                                                Facilities, as of
                                                   1/30/2022
                                                    201,000




                                                                                        All Other COVID-19
                                                                                         Deaths in the US,
                                                                                          as of 1/30/2022
                                                                                              680,900




           NOTE: LTCF death count is an undercount since this count excludes deaths in non-nursing home LTCF settings after
           June 30th, 2021 and also reflects some incomplete state reporting prior to that date. Some of the "All Other COVID-19
           Deaths in the US" count likely reflect LTCF deaths that have not been categorized as such.
           SOURCE: Long-term care death count is from KFF analysis of CMS COVID-19 Nursing Home Data, available state
           reports, press releases, and official state data through news reports. Total COVID-19 death count is from CDC. All data
           sources are as of January 30th, 2022. • PNG




       COVID-19 data that includes settings across the care continuum is essential to
       comprehensively assess the impact of COVID-19 on seniors and people with
       disabilities. To date, the federal government only requires data on COVID-19 cases,
       deaths, testing, and vaccinations from Medicare and Medicaid-certified nursing facilities
       (https://www.kff.org/medicaid/issue-brief/how-do-cmss-new-covid-19-vaccine-reporting-and-education-
       rules-apply-to-different-long-term-care-settings/). However, there is ample research

                                                                           EXHIBIT 1
                                                                             147
https://www.kff.org/policy-watch/over-200000-residents-and-staff-in-long-term-care-facilities-have-died-from-covid-19/               3/5
          Case
12/11/23, 6:27 AM 3:24-cv-00040-ZNQ-TJB       Document
                                 Over 200,000 Residents      1-7in Long-Term
                                                        and Staff   Filed 01/04/24
                                                                             Care Facilities Page   48From
                                                                                             Have Died  of COVID-19
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       (https://www.kff.org/medicaid/issue-brief/covid-19-vaccine-access-for-people-with-disabilities/) suggesting
       that that LTSS users in congregate community based settings outside of nursing homes
       also face elevated risks of COVID-19    infection due to health conditions and the higher
                                          The independent source for health policy research, polling, and news.
       levels of infection transmission in some non-nursing facility congregate settings such as
       assisted living facilities and group homes. Nearly one million people
       (https://www.kff.org/report-section/covid-19-issues-and-medicaid-policy-options-for-people-who-need-long-
       term-services-and-supports-appendix/) live in assisted living facilities, a population roughly the
       size of the nursing home population, but one that lacks comparable data. The data gap for
       all settings across the care continuum makes it difficult to assess the full impact of the
       pandemic on seniors and people with disabilities residing outside of nursing homes.
       Additionally, the federal health care worker vaccine mandate does not apply to all settings
       across the care continuum, possibly leading to COVID-19 infections with resulting staff
       shortages in these settings.

       Data is not available on the demographics of those who died in long-term care
       settings, making it difficult to understand the impact of race/ethnicity, age,
       vaccination status, and other key characteristics on infection severity or likelihood
       of mortality in LTCFs. While federally available data provides insight into the numbers of
       cases, deaths, and vaccinations as reported by nursing homes, gaps in data limit the ability
       to assess the impact more directly among residents and staff, by patient characteristics.
       Overall, cases and deaths in nursing homes appear to be declining. However, this analysis
       confirms the disproportionate toll of COVID-19 on people living and working in LTCFs and
       highlights the importance of comprehensive, timely, and accurate data.




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12/11/23, 6:27 AM 3:24-cv-00040-ZNQ-TJB       Document
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